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                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                               HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                                   PLAINTIFF

V.                          NO. 6:10-CR-60015-003
                            NO. 6:13-CV-6005

KEVIN HICKS                                                                DEFENDANT

                                        ORDER

       Now on this 17th day of December 2013, there comes on for

consideration     the    report      and   recommendation         filed    herein    on

November 26, 2013, by the Honorable                     Barry A. Bryant, United

States Magistrate Judge for the Western District of Arkansas.

(Doc. 183).     No objections were filed and the time to do so has

passed.

       The   court    has    reviewed      this    case    and,   being     well    and

sufficiently     advised,       finds      as     follows:        The     report    and

recommendation is proper and should be and hereby is adopted in

its entirety.1         Accordingly, Defendant’s Motion to Vacate, Set

Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (Doc.

171)   is    GRANTED    for    the    purpose      of    re-sentencing      to     allow

Defendant to file an appeal.

       Defendant is hereby re-sentenced to fifty-seven (57) months

1
  As detailed in the report and recommendation, Defendant initially raised two
grounds in his Motion to Vacate, Set Aside, or Correct Sentence under 28
U.S.C. § 2255; however, following an evidentiary hearing on November 22,
2013, Defendant conceded on his first ground and only his claim of
ineffective assistance of counsel in failing to file a notice of appeal
remain.

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imprisonment, five (5) years of supervised release, $5,000 fine,

and   $100   special   assessment,    with   all   other    conditions     of

Defendant’s sentence to remain the same.               The United States

Probation Office is directed to prepare an Amended Judgment in

this matter.    Defendant’s notice of appeal must be filed within

fourteen (14) days after entry of the Amended Judgment.

      IT IS SO ORDERED.

                                        /s/ Robert T. Dawson
                                        Honorable Robert T. Dawson
                                        United States District Judge




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